                        Case 1:23-cv-10787-AT Document 5 Filed 12/15/23 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                   Southern District
                                                  __________ Districtofof
                                                                        New  York
                                                                          __________

  ENGIER VENTURA and STEVEN ROBLES, on                              )
behalf of themselves and all others similarly situated,             )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No. 7:23-cv-10787-KMK
                                                                    )
  PJ NATIONAL NEW YORK, LLC; PJ ELMHURST                            )
INC.; PJ NATIONAL HOLDINGS LLC; PJ NATIONAL
                                                                    )
  MANAGEMENT LLC; PJ NATIONAL BROOKLYN
 LLC; PJ NATIONAL BRONX, LLC; and JOHN DOE                          )
              RESTAURANTS 1-40                                      )
                           Defendant(s)                             )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)         PJ NATIONAL NEW YORK, LLC: 39 BROADWAY, SUITE 1640, NEW YORK, NY 10006
                                           PJ ELMHURST INC.: P.O.BOX 222226, GREAT NECK, NY 11022
                                           PJ NATIONAL HOLDINGS LLC: PO BOX 685, HICKSVILLE, NY 11802
                                           PJ NATIONAL MANAGEMENT, LLC: 712 FIFTH AVENUE, 27TH FLOOR, NEW YORK, NY 10019
                                           PJ NATIONAL BROOKLYN, LLC: 901 N. MARKET STREET, SUITE 705, WILMINGTON, DE 19801
                                           PJ NATIONAL BRONX, LLC: 39 BROADWAY, SUITE 1640, NEW YORK, NY 10006




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Mohammed Gangat, Esq.,
                                       675 Third Avenue, Suite 1810,
                                       New York, NY 10017




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:     December 15, 2023                                                             /S/ S. James
                                                                                        Signature of Clerk or Deputy Clerk
                         Case 1:23-cv-10787-AT Document 5 Filed 12/15/23 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 7:23-cv-10787-KMK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
